                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. 06-CR-103-LRR
 vs.                                                            ORDER
 DONGYAN HUANG and
 ZHANG JIAN LONG,
               Defendants.
                                 ____________________


                                  I. INTRODUCTION
        The matter before the court is Defendant Dongyan Huang’s Motion to Sever the
Defendants’ Trials (“Motion”) (docket no. 84) and Amended Motion to Sever Defendants’
Trials (“Amended Motion”) (docket no. 86).
                      II. RELEVANT PROCEDURAL HISTORY
        On March 21, 2007, Defendant Dongyan Huang (“Defendant Huang”) filed her
Motion, and the court held a Final Pretrial Conference. During the Conference, the court
provided Defendant Huang twenty-four hours to amend her Motion to add supporting case
law. On March 22, 2007, Defendant Huang filed her Amended Motion.
                                     III. ANALYSIS
        Federal Rule of Criminal Procedure 14(a) provides that
              [i]f the joinder of offenses or defendants in an indictment, an
              information, or a consolidation for trial appears to prejudice a
              defendant or the government, the court may order separate
              trials of counts, sever the defendants’ trials, or provide any
              other relief that justice requires.




       Case 1:06-cr-00103-LRR-JSS      Document 89      Filed 04/05/07     Page 1 of 3
Fed. R. Crim. P. 14(a). “The presumption against severing properly joined cases is
strong . . . .” United States v. Ruiz, 412 F.3d 871, 886 (8th Cir. 2005) (citing United
States v. Delpit, 94 F.3d 1134, 1143 (8th Cir. 1996)).
       In her Motion, Defendant Huang asserts that she will “be prejudiced by a joint trial
if Defendant Zhang Jian Long’s (“Defendant Zhang”) statements [to law enforcement
                                             1
officers] . . . are introduced into evidence.” In her Amended Motion, Defendant Huang
relies on Bruton v. United States, 319 U.S. 123 (1968), in support of her assertion that the
failure to sever her trial from Defendant Zhang’s trial would unduly prejudice her case.
       Defendant Huang asserts that the introduction of Defendant Zhang’s pretrial
statements to Bureau of Immigration and Customs Enforcement Special Agent Christopher
Cantrell (“SA Cantrell”) during their joint trial will violate the Supreme Court’s holding
in Bruton.
       During SA Cantrell’s interview of Defendant Zhang on July 6, 2006, Defendant
Zhang allegedly stated: “I want you to know that these items are not the real thing. They
are fake copies of the real thing.” Defendant Huang argues that the alleged statement will
prejudice her case because “the jury may believe that [she] had knowledge said items were
counterfeit . . . .” However, the alleged statement by Defendant Zhang at most reveals
Defendant Zhang’s belief that he was trafficking in counterfeit goods; the alleged statement
does not bear on what Defendant Huang knew regarding such items.
       In Bruton, the court held that a confessing co-defendant’s statement inculpating a
non-confessing defendant when their trials are joined is not admissible regardless of the

       1
         Defendant Huang also alleges that Defendant Zhang’s “statements should have
been suppressed since said statements were illegally obtained by the government as
Defendant Zhang . . . did not waive his Miranda rights prior to being interviewed in
Mandarin when he does not speak said language.” In its February 27, 2007 order, the
court determined that Defendant Zhang’s statements were not taken in violation of Miranda
v. Arizona, 384 U.S. 436 (1966). Accordingly, the court will not re-address this
allegation.

                                             2


    Case 1:06-cr-00103-LRR-JSS         Document 89       Filed 04/05/07    Page 2 of 3
court’s limiting instructions regarding that statement. Bruton, 319 U.S. at 137. However,
these are not the circumstances in the instant case and, as such, Bruton is inapposite.
Furthermore, any prejudice to Defendant Huang’s case can be cured by the court’s
instructing the jury that it should consider each defendant separately. See, e.g., United
States v. Lawson, 173 F. 3d 666, 671 (8th Cir. 1999) (holding that court may appropriately
cure prejudice from a joint trial through specific instructions to jury).
       Therefore, the court finds that the defendants are properly joined for trial.
Defendant Huang’s case will not be prejudiced by a joint trial. Accordingly, Defendant
Huang’s Motion (docket no. 84) and Amended Motion (docket no. 86) requesting that her
trial be severed from Defendant Zhang’s trial is DENIED.
       IT IS SO ORDERED.
       DATED this 5th day of April, 2007.




                                             3


    Case 1:06-cr-00103-LRR-JSS         Document 89       Filed 04/05/07     Page 3 of 3
